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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division


UNITED STATES OF AMERICA,                        )
                                                 )
v.                                               )                      1:08cr101-14 (JCC)
                                                 )
GEORGE LEMON                                     )
                                                 )
        Defendant                                )

                                             ORDER

        In accordance with the accompanying Memorandum Opinion, and for reasons

stated in Open Court, it is hereby ORDERED:

        (1)   that the Defendant’s Motion for Bond is DENIED.

        (2)   that the Defendant shall be DETAINED without bail and is committed to the

custody of the Attorney General for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending appeal;

        (3)   that the defendant should be afforded reasonable opportunity for private

consultation with his counsel;

        (4)   that, on order of the Court of the United States, or on request of any attorney for the

government, the person in charge of the corrections facility in which the Defendant is confined,

shall deliver the Defendant to a United States Marshal for the purpose of an appearance in

connection with a court proceeding; and

        (5) that the Clerk shall forward copies of this Order to all counsel of record in this

matter, and to the United States Marshal.


Alexandria, Virginia                                                      /s/
March 25, 2008                                                James C. Cacheris
                                                              United States District Judge
